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1    Justin D. Rodriguez (#024765)
     ATKINSON, BAKER & RODRIGUEZ, P.C.
2
     201 Third Street NW, Suite 1850
3    Albuquerque, New Mexico 87102
     505-764-8111 | Fax 505-764-8374
4    jrodriguez@abrfirm.com
     Attorneys for TitleMax of Arizona, Inc.
5

6                           IN THE UNITED STATES DISTRICT COURT

7                                FOR THE DISTRICT OF ARIZONA
8    A.L., a minor, by and through his parent and       Case No. 2:21-CV-00560-CDB
9    legal guardian Paul Lewis,

10                 Plaintiff,                           FED.R.CIV.P 12(B)(1) MOTION TO
11                                                      DISMISS FIRST AMENDED
     .                                                  COMPLAINT [DOC. 13] FOR LACK OF
12                                                      SUBJECT MATTER JURISDICTION
     TitleMax of Arizona, Inc., John Does I-X,          AND SUPPORTING MEMORANDUM
13   and P.R.S. of AZ, LLC,                             BRIEF 1
14                 Defendants.
15

16

17
     I.     INTRODUCTION
18

19          Plaintiff’s First Amended Complaint [Doc. 13] (“FAC”), like Plaintiff’s original

20   FAC [Doc. 1], asserts a purported claim against defendant P.R.S. of AZ, LLC (“PRS”)
21
     (Count I) and Does I-X (Count II) for violation of Section 1692f(6)(A) of the Fair Debt
22

23
     Collection Practices Act (FDCPA) [Doc. 14-1], for allegedly taking possession of

24   Plaintiff’s vehicle when they had no legal right to do so. The FAC accurately pleads that
25

26

27
     1
      This Motion seeks dismissal under Fed.R.Civ.P 12(b)(1). The claimed defect in subject matter
28   jurisdiction is not curable by amendment. Consequently, LRCiv 12.1(c) does not apply to this
     Motion.


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1    the vehicle at issue (“Chevy”) was owned outright by Plaintiff, was not subject to any lien,
2
     and therefore Plaintiff was not a debtor and the Chevy was not collateral and was not
3

4
     subject to any “enforceable” security interest against Plaintiff. FAC at ¶¶ 34, 35, 37 and

5    48.
6
            Plaintiff has brought a claim against TitleMax of Arizona, Inc. (“TitleMax”)
7
     (Count III) for alleged violation of A.R.S. § 47-9609(B)(2) by repossessing Plaintiff’s
8

9    vehicle when there was no enforceable lien on the vehicle and when Plaintiff owned it
10
     outright. Plaintiff does not allege any breach of the peace during the repossession.
11
            The FAC must be dismissed pursuant to Fed.R.Civ.P. 12(b)(1) for lack of subject
12

13   matter jurisdiction because Counts I and II fail to establish this Court’s federal question

14   jurisdiction.
15
     II.    LEGAL STANDARD
16

17
            A.       Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. § 1692 and
                     § 1692f(6)(A)
18
            The elements of a claim under the FDCPA are: “(1) the plaintiff has been the object
19

20   of collection activity arising from a consumer debt, (2) the defendant collecting the ‘debt’
21
     is a ‘debt collector’ as defined in the Act, and (3) the defendant has engaged in any act or
22
     omission in violation of the prohibitions of the act.” Yrok Gee Au Chan v. N. Am.
23

24   Collectors, Inc., 2006 U.S. Dist. LEXIS 13353, 2006 WL 778642, at *3 (N.D. Cal. Mar.

25   24, 2006).
26
            Counts I and II of the FAC specifically assert violations of § 1692f(6)(A) which
27

28
     provides:



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1           A debt collector may not use unfair or unconscionable means to collect or attempt
2
            to collect any debt. Without limiting the general application of the foregoing, the
            following conduct is a violation of this section:
3           (6) Taking or threatening to take any nonjudicial action to effect dispossession or
            disablement of property if—
4
            (A) there is no present right to possession of the property claimed as collateral
5           through an enforceable security interest...
6
            B.     Uniform Commercial Code: A.R.S. § 47-9609(B)(2)
7
            Count III of the FAC is brought pursuant to A.R.S. § 47-9609(B)(2) which
8

9    provides:
10
            A. After default, a secured party:
11          1. May take possession of the collateral; and
            2. Without removal, may render equipment unusable and dispose of collateral on a
12          debtor's premises under § 47-9610.
13          B. A secured party may proceed under subsection A of this section:
            1. Pursuant to judicial process; or
14          2. Without judicial process, if it proceeds without breach of the peace.
15
            A party may bring a suit for damages for violation of § 47-9609 if the party “was
16

17
     a debtor, was an obligor or held a security interest in or other lien on the collateral....”

18   A.R.S. § 47-9625.
19
            C.     Motion to Dismiss for Failure to State a Claim (Fed.R.Civ.P. 12(b)(6))
20
            In deciding a motion to dismiss pursuant to Rule 12(b)(6), all factual allegations in
21

22   a FAC are accepted as true and the pleadings are construed in favor of the nonmovant.
23
     Curtis v. Irwin Indus., Inc., 913 F.3d 1146, 1151 (9th Cir. 2019). However, conclusory
24
     allegations will not survive a motion to dismiss, Luca v. Scalzo, 892 F.2d 83 (9th Cir.
25

26   1989), and they are not entitled to a “presumption of truth.” Moss v. U.S. Secret Serv., 572

27   F.3d 962, 969 (9th Cir. 2009).
28




                                               3
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1    III.     FACTS ACCEPTED AS TRUE FOR PURPOSES OF THIS MOTION
2
              The FAC [Doc. 13] makes the following factual allegations which are accepted as
3

4
     true for purposes of this Motion only:

5             1.    Paul Lewis (“Lewis”) purchased a 2004 Chevy Colorado (the “Vehicle”) in
6
     October 2019; in August 2020 he transferred title to the Chevy to his minor son A.L.
7
     (Plaintiff). [Doc. 13], ¶¶ 36, 38.
8

9             2.    There were no enforceable liens on the Vehicle, and neither Plaintiff nor his
10
     parents ever obtained a title loan using the Vehicle as collateral. [Doc.13], ¶¶ 34, 35, 40,
11
     41 and 48.
12

13            3.    TitleMax hired Does I-X to repossess the Vehicle; Does I-X hired PRS to

14   repossess the Vehicle, and on September 5, 2020, PRS took possession of the Chevy.
15
     [Doc.13], ¶¶ 43, 44, 45, and 48.
16

17
              4.    The Vehicle was returned to Plaintiff after four days. [Doc. 13], ¶ 47.

18            The allegations in Paragraphs 30 through 50 of the FAC make it facially clear that
19
     the Vehicle was not collateral with regard to the Plaintiff; none of the Defendants were
20
     creditors of Plaintiff or had an “enforceable” secured interest in the Vehicle; Plaintiff was
21

22   not a debtor of Defendants; none of the Defendants were attempting to collect a debt owed
23
     by Plaintiff (although the FAC alleges conclusorily that Defendants were debt collectors,
24
     the FAC nowhere alleges that any of the Defendants was attempting to collect a debt at
25

26   the relevant times); and there was no allegation of any breach of the peace.

27            Other allegations in the FAC are not entitled to any presumption of truth, Moss,
28
     supra:


                                                4
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1            a.    FAC, ¶ 22 (“Titlemax is a “secured party” as defined by A.R.S. § 44-
2
     9102(A)(72) [sic: 47-9102(A)(72).”) Paragraph 22 is purely a legal conclusion, and the
3

4
     factual allegations of the FAC make it clear that the legal conclusion is inaccurate on its

5    face. A.R.S. § 47-9102(A)(72) defines a “secured party” as:
6
            (a) A person in whose favor a security interest is created or provided for under a
7           security agreement, whether or not any obligation to be secured is outstanding;
            (b) A person that holds an agricultural lien;
8
            (c) A consignor;
9           (d) A person to which accounts, chattel paper, payment intangibles or promissory
            notes have been sold;
10
            (e) A trustee, indenture trustee, agent, collateral agent or other representative in
11          whose favor a security interest or agricultural lien is created or provided for; or
            (f) A person that holds a security interest arising under § 47-2401, 47-2505, 47-
12          2711, 47-2A508, 47-4210 or 47-5118.
13
            The FAC in fact affirmatively alleges the opposite, that there was no “enforceable”
14

15
     security interest in the Vehicle against Plaintiff. FAC ¶¶ 34, 35, 37 and 48. TitleMax

16   therefore could not be a secured party with regard to Plaintiff.
17
            b.     FAC, ¶ 26 (“Does I-X are “debt collectors” as defined by 15 U.S.C. §
18
     1692a(6).”) and FAC, ¶ 29 (“PRS is a “debt collector” as defined by 15 U.S.C. §
19

20   1692a(6).”). Paragraphs 26 and 29 are legal conclusions, and they are inaccurate ones
21
     pursuant to the FAC’s own factual allegations. 15 U.S.C. § 1692a(6) defines a “debt
22
     collector” as “any person who uses any instrumentality of interstate commerce or the mails
23

24   in any business the principal purpose of which is the collection of any debts, or who

25   regularly collects or attempts to collect, directly or indirectly, debts owed or due or
26
     asserted to be owed or due another.” The FAC pleads that Plaintiff did not owe any debt
27

28
     to either Does I-X or PRS (or to TitleMax). Further, auto repossessors are not considered



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1    to be debt collectors under the FDCPA. Jordan v. Kent Recovery Servs. Inc., 731 F. Supp.
2
     652, 659-60 (D. Del. 1990) (finding that auto repossession is not the action of a debt
3
     collector and falls outside the protection of the FDCPA); Brooks v. Leon's Quality
4

5    Adjusters, Inc., 1:15-CV-000965-JLT, 2016 WL 4539967, at *11 (E.D. Cal. Aug. 30,
6
     2016)(collecting cases and holding: “Because Defendants collected the collateral rather
7
     than the debt and are not debt collectors as applied to provisions other than Section
8

9    1692f(6)...Plaintiff is unable to succeed on claims for violations of the FDCPA under
10
     [other subsections].”)
11
            c.      FAC, Count I, ¶ 53 (“PRS violated 15 U.S.C. § 1692f(6)(A) by taking or
12

13   threatening to take non-judicial action to effect dispossession or disablement of Plaintiff’s

14   property where there was no present right to possession of the property claimed as
15
     collateral through an enforceable security interest.”) Paragraph 53 is purely a legal
16

17
     conclusion, and the FAC alleges that the Vehicle was not collateral and there was no

18   enforceable security interest against Plaintiff.
19
            d.      FAC, Count II, ¶ 56 (“PRS violated 15 U.S.C. § 1692f(6)(A) by taking or
20
     threatening to take non-judicial action to effect dispossession or disablement of Plaintiff’s
21

22   property where there was no present right to possession of the property claimed as
23
     collateral through an enforceable security interest.”) Paragraph 56 is a legal conclusion,
24
     and the FAC alleges that the Vehicle was not collateral and not subject to any enforceable
25

26   security interest against Plaintiff.

27          e.      FAC, Count II, ¶ 61 (“Titlemax [sic] violated A.R.S. § 47-9609(B)(2) by
28
     illegally repossessing the Vehicle.”) Paragraph 61 is purely a legal conclusion, and the


                                                6
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1    FAC establishes that the facts do not support a finding of any violation. A.R.S. § 47-
2
     9609(B)(2) provides that, “A secured party may proceed under subsection A of this
3
     section: 1. Pursuant to judicial process; or 2. Without judicial process, if it proceeds
4

5    without breach of the peace.”
6
            Pursuant to the FAC’s factual allegations none of the Defendants held enforceable
7
     security interests against Plaintiff, and there was no allegation of any breach of the peace.
8

9    See Doc. 14-1 at P. 11, removing former paragraph 52. None of the legal conclusions are
10
     entitled to any consideration by this Court as being effective to rebut the present motion.
11
            [T]he tenet that a court must accept as true all of the allegations contained in a FAC
12          is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause
13          of action, supported by mere conclusory statements, do not suffice...only a FAC
            that states a plausible claim for relief survives a motion to dismiss. Determining
14          whether a FAC states a plausible claim for relief will, as the Court of Appeals
15
            observed, be a context-specific task that requires the reviewing court to draw on its
            judicial experience and common sense.
16

17
     Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009)(internal quotation marks and citation

18   omitted).
19
     IV.    ARGUMENT AND AUTHORITIES
20
            A.     Plaintiff is not a Debtor, Defendants are not Secured Parties,
21
                   Defendants have no Enforceable Security Interest in the Vehicle, and
22                 the Vehicle is not Collateral for any Debt: Plaintiff has no right of
                   action under the FDCPA.
23

24          The FAC on its face makes it clear that Plaintiff is not a debtor; that none of the

25   Defendants are secured parties as against the Plaintiff; that none of the Defendants have
26
     an enforceable security interest against Plaintiff in the Vehicle; and that the Vehicle at the
27

28
     time of repossession was not collateral for any debt of anyone. See Section III, supra.



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1    PRS and the Does, as repossessors, are not subject to any provision of the FDCPA except
2
     § 1692f(6). Oya v. Wells Fargo Bank, N.A., 3:18-CV-01999-H-BGS, 2019 WL 4573704,
3
     at *7 (S.D. Cal. Sept. 19, 2019), appeal dismissed, 19-56152, 2019 WL 8329298 (9th Cir.
4

5    Dec. 30, 2019)(“[T]hose who engage in only nonjudicial foreclosure proceedings are not
6
     debt collectors within the meaning of the [FDCPA].”); Thomas v. Gen. Motors Fin. Co.,
7
     Inc., 5:19-CV-1418-DAE, 2020 WL 8771387, at *4 (W.D. Tex. Mar. 18, 2020),
8

9    reconsideration denied, 5:19-CV-1418-DAE, 2020 WL 8771383 (W.D. Tex. Apr. 30,
10
     2020)(“[T]he Court finds that [the repossessor], by virtue of its role enforcing security
11
     interests, is subject only to the specific prohibitions contained in § 1692f(6), and not the
12

13   subject of the main coverage of the FDCPA.”)

14          Section 1692f(6)(A) is the provision of federal law that Counts I and II of the FAC
15
     are based upon. However, that specific provision and the prefatory lead-in provision by
16

17
     their clear terms do not provide a cause of action to Plaintiff here:

18          A debt collector may not use unfair or unconscionable means to collect or attempt
            to collect any debt. Without limiting the general application of the foregoing, the
19
            following conduct is a violation of this section:
20          (6) Taking or threatening to take any nonjudicial action to effect dispossession or
            disablement of property if—
21
            (A) there is no present right to possession of the property claimed as collateral
22          through an enforceable security interest...
23
     Id. (emphasis added). In this case there is no property at all that is claimed as collateral
24
     through an enforceable security interest. The FAC quite definitively takes pains to
25

26   establish that the Vehicle at issue had no “enforceable” security interest in it against

27   Plaintiff. See Doc.13 at ¶¶ 34, 35, 40, 41 and 48. Further, the prefatory sentence above
28
     states that “A debt collector may not use unfair or unconscionable means to collect or


                                                8
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1    attempt to collect any debt” (emphasis added). As the FAC concedes, there was no debt
2
     at issue and no allegation that there was an attempt to collect a debt against Plaintiff.
3

4
            In Larrañaga v. Mile High Collection & Recovery Bureau, Inc., 807 F. Supp. 111

5    (D.N.M. June 9, 1992), the Plaintiff sued the repossession agency for violation of §
6
     1692f(6)(A) when the agency not only repossessed the correct vehicle but also repossessed
7
     the personal property inside the car which was not collateral and not subject to any security
8

9    interest. The agency argued that the statutory provision is:
10
            solely concerned with “property claimed as collateral.” Thus...[it] prohibits only
11          the taking of any nonjudicial action to effect dispossession of collateral when there
            is no present right to possession of that collateral....the FDCPA does not prohibit
12          the “incidental possession of property not claimed as collateral through an
13          enforceable security interest.” Since it is undisputed that ABQ claimed only Mr.
            Larrañaga's Ford LTD as collateral, the RTC argues that the FDCPA does not apply
14          to the “incidental” taking of the personal property within the car at the time that it
15
            was repossessed.

16   Larrañaga, supra at 113 (citations omitted). The court agreed, holding that repossession
17
     of property not claimed as collateral was not subject to the statute:
18
            Compare the likely result were the statute to prohibit the dispossession of property
19
            when “there is no present right to possession of the property [ ] through an
20          enforceable security interest.” As is evident, the best interpretation of the statute as
            it is written is to interpret the words “claimed as collateral” as words of limitation.
21

22   Id. n. 3. See also, Cagan v. Jordans Prop. Mgmt. Services, LLC, 1:12-CV-0070-WSD,
23
     2012 WL 13133670, at *3 (N.D. Ga. Jan. 31, 2012)(Where right of possession, rather than
24
     enforcement of a security interest, § 1692f(6)(A) does not apply; the FDCPA does not
25

26   prohibit such conduct; and plaintiff has failed to state a valid claim.); Gallagher v. Gurstel,

27   Staloch & Chargo, P.A., 645 F. Supp. 2d 795, 801 (D. Minn. 2009)(No violation of §
28
     1692f(A)(6) where defendant was alleged to have frozen funds to “which it was never


                                                 9
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1    entitled, period;” citing Larrañaga’s holding that there is no action under § 1692f(A)(6)
2
     where there is no “property claimed as collateral through an enforceable security
3
     interest...”)
4

5            Applying the common sense reasoning of the Larrañaga court to the present case,
6
     the statutory phrase “claimed as collateral through an enforceable security interest” cannot
7
     simply be ignored. These are pivotal words of limitation that make the FDCPA entirely
8

9    inapplicable to Plaintiff’s FAC. Counts I and II of the FAC should be dismissed because
10
     they fail to establish this Court’s subject matter jurisdiction pursuant to Fed.R.Civ.P.
11
     12(b)(1).
12

13           B.      This Court Lacks Subject Matter Jurisdiction.

14           If there is no viable statutory claim for violation of the FDCPA as alleged in Counts
15
     I and II of the FAC, or if Plaintiff lacks standing to bring the claim, the federal court lacks
16

17
     § 1331 subject matter jurisdiction. Baltin v. Alaron Trading Corp., 128 F.3d 1466, 1469

18   (11th Cir. 1997). Although TitleMax is not named as a defendant in Counts I and II,
19
     TitleMax still has standing to raise the Court’s lack of jurisdiction. Even if no Defendant
20
     in the case challenges the Court’s subject matter jurisdiction, the Court has an independent
21

22   duty to assess its jurisdictional moorings. “Courts have an independent obligation to
23
     determine whether subject-matter jurisdiction exists, even when no party challenges it.”
24
     Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006). Any party or the court on its own
25

26   may raise a subject matter jurisdiction issue at any time, at “any stage in the litigation,

27   even after trial and the entry of judgment.” Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010).
28




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1           C.     Plaintiff Lacks Standing to Pursue His FDCPA Claim, and the Court
2                  Lacks Subject Matter Jurisdiction Over The FAC pursuant to
                   Fed.R.Civ.P. 12(b)(1).
3
            If a plaintiff has no standing, the court has no subject matter jurisdiction. Nat'l
4

5    Wildlife Fed'n v. Adams, 629 F.2d 587, 593 n. 11 (9th Cir. 1980). Here, Plaintiff does not
6
     have standing to pursue his FDCPA claims since he admits that he is not a debtor, his
7
     Vehicle is not claimed to be collateral against him, there was no attempt to collect a debt,
8

9    and there is no enforceable security interest in Plaintiff’s property. Therefore, the Court
10
     does not have subject matter jurisdiction over the FAC.
11
            To satisfy Article III's case or controversy requirements for standing, a plaintiff
12

13   must demonstrate: (1) that she has suffered injury in fact; (2) that the injury is fairly

14   traceable to the actions of the defendant; and (3) that the injury is likely to be redressed
15
     by a favorable decision. Bennett v. Spear, 520 U.S. 154, 162 (1997). Plaintiff here does
16

17
     not have standing since he cannot make a viable claim under the FDCPA and therefore

18   his claimed injury is unlikely to be redressed by a favorable decision.
19
            In Johnson v. Ocwen Loan Servicing, 374 Fed. Appx. 868, 871 (11th Cir. 2010),
20
     the plaintiff brought an FDCPA claim against a mortgagee for alleged misconduct
21

22   concerning an existing loan, but the plaintiff was not a debtor or a borrower on the loan
23
     as required by the FDCPA. The court held that the plaintiff lacked standing to make the
24
     claim both because she did not suffer an injury in fact and because she was not within the
25

26   “zone of interests” the FDCPA was designed to protect. Id. at 874. The Johnson plaintiff

27   was not within the FDCPA’s “zone of interests” because the statutory provision she sued
28
     under required her to be a “consumer,” a requirement she could not meet.


                                               11
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1           Citing Johnson, the court in Adjoda v. Law Firm of Gary M. Singer, P.A., 2017 WL
2
     7794342, at *3 (S.D. Fla. Aug. 18, 2017), report and recommendation adopted 2017 WL
3

4
     7794343 (S.D. Fla. Sept. 19, 2017) also held that the plaintiff lacked standing to pursue

5    an FDCPA claim. The Adjoda plaintiff did not allege she was a borrower: “In fact, she
6
     alleges the opposite: that she ‘is not on the underlying promissory note’ and cannot ‘be
7
     held personally liable for a debt on a note which she never executed, nor is otherwise
8

9    liable for in any way...’ But as a non-debtor, Plaintiff simply does not fall within the zone
10
     of interests FDCPA aims to protect.” Id. at *2.
11
            Analogously, here, Plaintiff is not within the FDCPA’s zone of interests because
12

13   the statute at issue prohibits “debt collectors” from engaging in proscribed practices, and

14   because § 1692f(6)(A) requires that the property at issue be claimed as collateral through
15
     an enforceable security interest. Plaintiff affirmatively alleges that there was not a debt,
16

17
     there was not any enforceable lien against him on the Vehicle, and the Vehicle was not

18   collateral of any obligation of the Plaintiff. Plaintiff does not have standing because he
19
     cannot make out a statutory violation and he is not within the zone of interests intended to
20
     be protected by the FDCPA.
21

22          In addition, a court may have subject matter jurisdiction in one of three ways: “(1)
23
     jurisdiction under a specific statutory grant; (2) federal question jurisdiction pursuant to
24
     28 U.S.C. § 1331; or (3) diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).” Baltin v.
25

26   Alaron Trading Corp., 128 F.3d 1466, 1469 (11th Cir. 1997). If a defendant mounts a

27   facial attack on subject matter jurisdiction, the issue is decided based upon the allegations
28
     of the FAC, which are presumed to be true (just as they are in a Rule 12(b)(6) analysis).


                                                12
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1    McElmurray v. Consolidated Gov't of Augusta-Richmond County, 501 F.3d 1244, 1251
2
     (11th Cir. 2007). Here, the Court might have had subject matter jurisdiction both because
3
     of a specific statutory grant, 15 U.S.C.A. § 1692k and the Court’s general federal question
4

5    jurisdiction pursuant to 28 U.S.C. § 1331. However, the Plaintiff fails to even allege the
6
     minimum statutory requirements of the FDCPA, depriving the Court of subject matter
7
     jurisdiction based upon either the FDCPA or a general federal question. Further, the Court
8

9    does not have subject matter jurisdiction because Plaintiff cannot, by the plain allegations
10
     of his FAC, make out an actionable claim under the statutory requirements of the FDCPA.
11
     This failure constitutes both a lack of subject matter jurisdiction and a failure to state a
12

13   claim under which relief can be granted, pursuant to Rule 12(b)(1) and 12(b)(6).

14             If the court finds that it does not have subject-matter jurisdiction, the entire FAC
15
     must be dismissed, including “pendent state-law claims.” Arbaugh v. Y&H Corp., supra
16

17
     at 501.

18             Once a plaintiff's federal claims are dismissed, “there remains no independent
               original federal jurisdiction to support the Court's exercise of supplemental
19
               jurisdiction over the state claims against Defendant.” Baggett v. First Nat. Bank of
20             Gainesville, 117 F.3d 1342, 1352 (11th Cir. 1997); see also 28 U.S.C. § 1367(c)(3).
               Indeed, when a plaintiff's federal claims are dismissed, dismissal of the state law
21
               claims is strongly encouraged in order to advance considerations of economy,
22             fairness, convenience and comity. Baggett, 117 F.3d at 1353); Raney v. Allstate Ins.
               Co., 370 F.3d 1086, 1089 (11th Cir. 2004).
23

24   Adjoda, supra at *3.

25             The FAC should be dismissed in its entirety because this Court lacks subject matter
26
     jurisdiction over PRS and the Does I-X in Counts I and II.
27

28




                                                  13
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1           D. Plaintiff Does Not State a Claim Against TitleMax under the Arizona
2              Uniform Commercial Code

3           Based upon the same set of factual and conclusory allegations advanced in support
4
     of Counts I and II, the FAC alleges that TitleMax violated A.R.S. § 47-9609(B)(2)
5
     (“UCC”). However, the plain allegations of the FAC establish that Plaintiff cannot state
6

7    a UCC claim.
8
            As the FAC accurately states, TitleMax is not a “secured party” against Plaintiff
9
     Section 47-9102(A)(72) defines a “secured party” as follows:
10

11          72. “Secured party” means:
            (a) A person in whose favor a security interest is created or provided for under a
12          security agreement, whether or not any obligation to be secured is outstanding;
13          (b) A person that holds an agricultural lien;
            (c) A consignor;
14          (d) A person to which accounts, chattel paper, payment intangibles or promissory
15
            notes have been sold;
            (e) A trustee, indenture trustee, agent, collateral agent or other representative in
16          whose favor a security interest or agricultural lien is created or provided for; or
17
            (f) A person that holds a security interest arising under § 47-2401, 47-2505, 47-
            2711, 47-2A508, 47-4210 or 47-5118.
18
            The FAC makes it clear that TitleMax was not a secured party against Plaintiff and
19

20   as to Plaintiff never had an enforceable security interest in the Vehicle at issue. See Doc.13
21
     at ¶¶ 34, 35, 40, 41 and 48.
22
            Also, Plaintiff is not a “debtor” as defined in Section 9102(A)(28):
23

24          (a) A person having an interest, other than a security interest or other lien, in the
            collateral, whether or not the person is an obligor;
25          (b) A seller of accounts, chattel paper, payment intangibles or promissory notes; or
26          (c) A consignee.

27          Of course, Plaintiff alleges that the Vehicle was never collateral of the Plaintiff’s
28
     of any kind; “collateral” is defined as “the property subject to a security interest.” A.R.S.


                                                14
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1    § 47-9102(A)(12), and the FAC alleges just the opposite: the Vehicle was not subject to
2
     any enforceable lien or security interest against Plaintiff. See FAC at 48.
3
            “On the issue of standing, Plaintiff may seek relief under the UCC if he “was a
4

5    debtor, was an obligor, or held a security interest in or other lien on the collateral” at the
6
     time of the alleged UCC violation. A.R.S § 47-9625(C)(1).” Garcia v. Santander
7
     Consumer USA Inc., CV-19-04817-PHX-DLR, 2020 WL 1812037, at *1 (D. Ariz. Apr.
8

9    9, 2020). In Garcia, the court found the plaintiff did have standing to proceed because he
10
     purchased a vehicle that was subject to a security interest before he bought it. Id. The
11
     court distinguished the Washington case, Smart v. Emerald City Recovery, LLC, No. C18-
12

13   0448-JCC, 2018 WL 3569873 (W.D. Wash. July 25, 2018), on the grounds that Smart

14   involved a plaintiff who was indisputably not “a creditor or an obligor, and that no security
15
     interest existed in her car.” Id. at *2.
16

17
            In Smart, the plaintiff’s car was taken by mistake: she bought the car with a loan

18   from her father and there was no lien on it. The repossession company meant to take a
19
     neighbor’s car. Id. at *1.       The plaintiff sued the credit company and its retained
20
     repossession company for claims including violation of RCW 62.9-609, a provision
21

22   virtually identical to A.R.S. § 47-9609 at issue here. The credit company’s Rule 12(b)(6)
23
     motion to dismiss was granted on the grounds that only a creditor, obligor, or holder of a
24
     security interest in the collateral could recover damages pursuant to RCW 62A.9A.625,
25

26   which again is virtually identical to A.R.S. § 47-9625. The present case resembles Smart,

27   rather than Garcia, as Plaintiff here is indisputably not a creditor or an obligor, and no
28
     enforceable security interest existed in his car.


                                                15
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1           Very recently, United States District Court Judge Albright reached the same
2
     conclusion under Texas law. In a matter almost identical to this case and involving the
3
     same Plaintiff’s counsel, Judge Albright held in Lewis v. TitleMax of Texas, Inc. et al,
4

5    Case 6:19-cv-00630-ADA-JCM (Western District of Texas) at Doc. 87 (Order Granting
6
     TitleMax’s Motion for Summary Judgment) that under an undistinguishable set of facts,
7
     the Plaintiff in that case was not a “debtor” under the Texas equivalent of A.R.S. § 47-
8

9    9609. This Court should reach the same conclusion applying similar Arizona law.
10
            Plaintiff’s entire theory is that he owned the Vehicle outright, and that it was not
11
     subject to any security interest. The car was therefore not collateral, Plaintiff was never a
12

13   debtor and TitleMax never had an enforceable security interest in the vehicle as against

14   Plaintiff. Not only does Plaintiff not have standing to bring a claim under § 4-9609, he
15
     cannot make out a claim under which relief can be granted. Count III should be dismissed
16

17
     pursuant to both Rules 12(b)(1) and 12(b)(6).

18   V.     CONCLUSION
19
            The Court does not have subject matter jurisdiction over Counts I and II, and
20
     TitleMax has standing to raise the subject matter jurisdiction objection as to these Counts
21

22   even though it is not named in them. Because of the lack of subject matter jurisdiction,
23
     the entire FAC including pendent state court claims must be dismissed pursuant to
24
     Fed.R.Civ.P. 12(b)(1).
25

26          Further, Plaintiff has failed to establish standing and has failed to make a claim

27   upon which relief can be granted because Plaintiff is not a creditor or an obligor and there
28
     is no enforceable security interest in the vehicle in question claimed. Because there is no


                                                16
            Case 2:21-cv-00560-MTL Document 16 Filed 07/06/21 Page 17 of 17



1    way in which Plaintiff can change the facts to establish standing or subject matter
2
     jurisdiction the dismissal should be with prejudice.
3

4
                                                Respectfully submitted,

5                                              ATKINSON, BAKER & RODRIGUEZ, P.C.
6
                                               /s/ Justin D. Rodriguez
7                                              Justin D. Rodriguez (#024765)
                                               ATKINSON, BAKER & RODRIGUEZ, P.C.
8
                                               201 Third Street NW, Suite 1850
9                                              Albuquerque, New Mexico 87102
                                               505-764-8111 | Fax 505-764-8374
10
                                               jrodriguez@abrfirm.com
11                                             Attorneys for TitleMax of Arizona, Inc.

12                                CERTIFICATE OF SERVICE
13
           We hereby certify that on this 6th day of July, 2021, we filed the foregoing
14

15
     pleading electronically providing notice to all counsel and parties of record.

16                                             ATKINSON, BAKER & RODRIGUEZ, PC
17
                                               /s/ Justin D. Rodriguez
18                                             Justin D. Rodriguez
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